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                       EXHIBIT “B”




Correspondence from Mr. Campbell to Everything Breaks
                dated October 27, 2023




                       EXHIBIT “B”
            Case 2:23-cv-00861-GMN-EJY              Document 20-3          Filed 01/12/24      Page 2 of 4


Max Morgan
                                                                                                                B
From:                              Max Morgan
Sent:                              Friday, October 27, 2023 4:21 PM
To:                                Jamey Campellone; Marlo Hackney; Eric H. Weitz; Chris Miltenberger; Craig Perry
Cc:                                Gabby Mangar; Phillip Silvestri
Subject:                           RE: SERVICE OF COURT DOCUMENT; Campbell v. Everything Breaks, Inc., Case No: 2:23-
                                   cv-00861


Jamey:

Thursday works. I will send a dial in.

On the documents, there is no description of what the excel files are. Most are juts lists of what appear to be numbers,
with nothing more. Also, I do not see any CDRs for the calls placed to leads originating from Otto.

I have other questions about some of the documents because they don’t track with the information you provided in our
discussions. We can discuss Thursday.

Regards,

Max

From: Jamey Campellone <Jamey.Campellone@gmlaw.com>
Sent: Friday, October 27, 2023 4:14 PM
To: Max Morgan <max.morgan@theweitzfirm.com>; Marlo Hackney <marlo.hackney@theweitzfirm.com>; Eric H. Weitz
<eric.weitz@theweitzfirm.com>; Chris Miltenberger <chris@crmlawpractice.com>; Craig Perry
<cperry@craigperry.com>
Cc: Gabby Mangar <Gabby.Mangar@gmlaw.com>; Phillip Silvestri <Phillip.Silvestri@gmlaw.com>
Subject: RE: SERVICE OF COURT DOCUMENT; Campbell v. Everything Breaks, Inc., Case No: 2:23-cv-00861

Max,

What about the documents—can you elaborate?

I am available Thursday at 2:00 p.m. EST for a call (I just had a deposition cancel). Is this a call to say
Plaintiff wants to dismiss the case?

Thank you,

Jamey



Jamey R. Campellone, Esq.
Greenspoon Marder LLP
200 East Broward Boulevard, Suite 1800
Fort Lauderdale, Florida 33301
Phone: 954-491-1120 | Ext. 2304
Direct: 954-527-6296 | Direct Fax: 954-333-4296
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                                                                                                                               Case 2:23-cv-00861-GMN-EJY                                                                                                  Document 20-3   Filed 01/12/24   Page 3 of 4
jamey.campellone@gmlaw.com
www.gmlaw.com



From: Max Morgan <max.morgan@theweitzfirm.com>
Sent: Friday, October 27, 2023 4:06 PM
To: Jamey Campellone <Jamey.Campellone@gmlaw.com>; Marlo Hackney <marlo.hackney@theweitzfirm.com>; Eric H.
Weitz <eric.weitz@theweitzfirm.com>; Chris Miltenberger <chris@crmlawpractice.com>; Craig Perry
<cperry@craigperry.com>
Cc: Gabby Mangar <Gabby.Mangar@gmlaw.com>; Phillip Silvestri <Phillip.Silvestri@gmlaw.com>
Subject: RE: SERVICE OF COURT DOCUMENT; Campbell v. Everything Breaks, Inc., Case No: 2:23-cv-00861
Jamey: Let me k now whe n you’re available next week for a call to dis cus s the docume nts prod uced. Regards, Max From: Max Morgan Sent: Friday, October 27, 202 3 12: 2 3 PM To: Jamey Ca mpellone <Jamey. Campello ne@ g mlaw. com> ; Marlo Ha ckney




Jamey:

Let me know when you’re available next week for a call to discuss the documents produced.

Regards,

Max

From: Max Morgan
Sent: Friday, October 27, 2023 12:23 PM
To: Jamey Campellone <Jamey.Campellone@gmlaw.com>; Marlo Hackney <marlo.hackney@theweitzfirm.com>; Eric H.
Weitz <eric.weitz@theweitzfirm.com>; Chris Miltenberger <chris@crmlawpractice.com>; Craig Perry
<cperry@craigperry.com>
Cc: Gabby Mangar <Gabby.Mangar@gmlaw.com>; Phillip Silvestri <Phillip.Silvestri@gmlaw.com>
Subject: RE: SERVICE OF COURT DOCUMENT; Campbell v. Everything Breaks, Inc., Case No: 2:23-cv-00861

Jamey:

Received. We are reviewing the responses. I note that the Interrogatories are not veriﬁed. When will you provide the
veriﬁca on?

On documents, your responses note that you intend to produce documents within a month. Please advise why this
addi onal me is needed to produce documents. We presume that your oﬃce reviewed the documents before
providing wri en responses. We note that there is a deadline to amend and if we need to seek an extension (since we
will have less than 30 days to review documents), one factor may be the defendant’s delay in producing
documents. Can you please ar culate the reason the documents were not produced with the responses?

Regards,

Max

From: Jamey Campellone <Jamey.Campellone@gmlaw.com>
Sent: Thursday, October 26, 2023 7:04 PM
To: Max Morgan <max.morgan@theweitzfirm.com>; Marlo Hackney <marlo.hackney@theweitzfirm.com>; Eric H. Weitz
<eric.weitz@theweitzfirm.com>; Chris Miltenberger <chris@crmlawpractice.com>; Craig Perry
<cperry@craigperry.com>
Cc: Gabby Mangar <Gabby.Mangar@gmlaw.com>; Phillip Silvestri <Phillip.Silvestri@gmlaw.com>
Subject: SERVICE OF COURT DOCUMENT; Campbell v. Everything Breaks, Inc., Case No: 2:23-cv-00861

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   Court:            In the United States District Court for the District of Nevada
   Case No.:         2:23-cv-00861
   Case Style:       Campbell v. Everything Breaks, Inc.
   Document(s):          1. ESERVED- Defendant's Responses and Objections to Plaintiff's First Set of Interrogator

                         2. ESERVED- Defendant's Responses and Objections to Plaintiff's First Set of Requests for
                            Documents

   Sender:           Jamey R. Campellone, Esq.
   Telephone
                     (954) 527-6296
   No.:




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we are attempting to collect a debt from you.




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